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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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THGF!-.".S ,*,f, co
uNiTED sTATEs oF AMERICA ) milling J§:i:}§i}gw
Plaintiff, §
vs § CAsE No. 2:04CR20100-M1
DARREN MACKLIN i
Defendant. ))
)

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Darren Macklin, having been sentenced in the above case to the custody of the

Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS

HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI Forrest City (Med),

P.O. Box 7000, Forrest City, AR 72335 by 2:00 p.m. on *MONDAY., NOVEMBER 7.. 2005.

IT IS FUR'I`HER ORDERED that upon receipt of a copy of this Order the defendant shall sign

one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she Will

report as ordered to the facility named above.

ENTERED this the Ol day OfAuguSr, 2005

audit

 

J N PHIPPS McCALLA

NITED STATES DISTRICT JUDGE

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ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

   

UNITED `SATESDISTRICT COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22l in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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167 N. l\/lain St.

Ste. 800

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Honorable J on l\/lcCalla
US DISTRICT COURT

